Case 2:05-cr-20007-.]PI\/| Document 35 Filed 08/22/05 Page 1 of 6 Page|D 39

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_v_ 05-20007-01-Ma W;D 0? iii litith
MARCUS BROOKS

Randg|gh W. A|den, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Of'fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 10, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tiue s. section Mn_se con luded Nu_m@,i;(§j
18 U.S.C. § 922(g) Fe|on in possession of a firearm 06/15/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieforrn Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/30/1979 August 17, 2005
Deft’s U.S. Marsha| No.: 20091-076

Defendant’s Residence Address:
1651 Pennsylvania
|Vlemphis, TN 38109

MW"/"

SAMUEL H. |V[AYS, JFi.
UN|TED STATES DISTR|CT JUDGE

 

August fci ,2005

This doci.ment entered on the dockets seijo com `ance
with Fi.iie 55 and/or 32rbi FRch on _Li‘ '

Case 2:05-cr-20007-.]Pi\/| Document 35 Fiied 08/22/05 Page 2 of 6 Page|D 40

Case No: 05-20007-01-Ma
Defendant Name: Marcus Brooks Page 2 of 5

|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of seventy UO) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility closest
to ii/iemphis, Tennessee.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MAFiSHAL
By:

 

Deputy U.S. Niarshai

Case 2:05-cr-20007-.]Pi\/| Document 35 Fiied 08/22/05 Page 3 of 6 PagelD 41

Case No: 05-20007-01-Ma
Defendant Name: Marcus Brooks Page 3 of 5

SUPERViSED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer_

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingr training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic brother controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substame;

7. The defendant shall not frequent pieces where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activiiy, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:05-cr-20007-.]Pi\/| Document 35 Fiied 08/22/05 Page 4 of 6 PagelD 42

Case No: 05-20007-01-Ma
Defendant Name: Marcus Brooks Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| iVionetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. That defendant shall seek and maintain lawful full-time employment.

3. That defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

Case 2:05-cr-20007-.]Pi\/| Document 35 Fiied 08/22/05 Page 5 of 6 PagelD 43

Case No: 05-20007-01-Ma
Defendant Name: Maroue Brooks Page 5 of 5

CRIMINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tgta| Ftestitution
$100.00

The Speciai Assessment shall be due immediately

FiNE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered.

ISTRIC COURT - WETERN DSTRICT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20007 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

Michaei Robert McCusker

U.S. ATTORNEY'S OFFICE- Memphis
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Ste. 800

i\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

